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ABOLISH ABORTION OREGON et al.


                        UNITED STATES DISTRICT COURT
                    IN AND FOR THE DISTRICT OF OREGON
                                 MEDFORD DIVISION

ABOLISH ABORTION OREGON, An                     Case No.:
Unincorporated Association; MASON
GOODKNIGHT, An Individual;                      COMPLAINT FOR
SHAWN KELLIM, An Individual;                    DECLARATORY RELIEF,
RYAN CLARK, An Individual; MARK                 INJUNCTIVE RELIEF,
MAYBERRY, An Individual; LORI                   ECONOMIC DAMAGES, NON-
MAYBERRY, An Individual; ROBBY                  ECONOMIC, AND PUNITIVE
MAYBERRY, An Individual; and                    DAMAGES FOR DEPRIVATION
RICKY MAYBERRY, An Individual,                  OF CIVIL RIGHTS [42 U.S.C. §
                                                1983]
                               Plaintiffs,      JURY TRIAL REQUESTED
v.

CITY OF GRANTS PASS, A
Municipality; JAMES HAMILTON, An
Individual; TIMOTHY ARTOFF, An
Individual; JASON McGINNIS, An
Individual; and DOES 1 THROUGH
50, Inclusive,

                             Defendants.

       Plaintiffs ABOLISH ABORTION OREGON (“AAOR”), MASON
GOODKNIGHT (“GOODKNIGHT”), SHAWN KELLIM (“KELLIM”), RYAN
CLARK (“CLARK,”), MARK MAYBERRY (“MAYBERRY”), LORI
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MAYBERRY (“LORI M.”), ROBBY MAYBERRY (“ROBBY M.”), and RICKY
MAYBERRY (“RICKY M.,” and collectively with GOODKNIGHT, KELLIM,
CLARK, MAYBERRY, and LORI M. “Plaintiffs”) hereby allege as follows:
                                        PARTIES
       1.     Plaintiffs are, and at all times herein were, U.S. citizens and residents
of Oregon.
       2.     Plaintiff AAOR is, and at all times herein was, an unincorporated
association based in Roseburg, Oregon, whose members consist of Christians from
throughout Oregon who are dedicated to calling the public’s attention to the
horrors of abortion and calling on legislators to abolish and criminalize the
inhumane practice.
       3.     Plaintiff GOODKNIGHT is, and at all times herein was, a resident of
Roseburg, Oregon, and the coordinator of AAOR’s evangelism outings.
       4.     Plaintiff KELLIM is, and at all times herein was, a resident of Glide,
Oregon, and an active member of AAOR.
       5.     Plaintiff CLARK is, and at all times herein was, a resident of Grants
Pass, Oregon, and an active member of AAOR.
       6.     Plaintiff MAYBERRY is, and at all times herein was, a resident of
Riddle, Oregon, and an active member of AAOR.
       7.     Plaintiff LORI M. is, and at all times herein was, a resident of Riddle,
Oregon, the wife of Plaintiff MAYBERRY, and an active member of AAOR.
       8.     Plaintiff ROBBY M. is, and at all times herein was, a resident of
Riddle, Oregon, the teen-aged son of MAYBERRY and LORI M., and an active
member of AAOR.



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       9.     Plaintiff RICKY M. is, and at all times herein was, a resident of
Riddle, Oregon, the teen-aged son of MAYBERRY and LORI M., and an active
member of AAOR.
       10.    Defendant CITY OF GRANTS PASS (the “CITY”) is, and at all times
herein was, a public body as defined in ORS 30.260(4)(b) and 174.109.
       11.    Defendant JAMES HAMILTON (“HAMILTON”) is, and at all times
here in was, the Deputy Chief of Defendant CITY’s Department of Public Safety
(“DPS”).
       12.    Defendant TIMOTHY ARTOFF (“ARTOFF”) is, and at all times
herein was, a police officer employed by Defendant CITY.
       13.    Defendant JASON McGINNIS (“McGINNIS,” and collectively with
CITY and ARTOFF “Defendants”) is, and at all times herein was, a police officer
employed by Defendant CITY.
       14.    The true names and capacities of Defendants DOES 1 THROUGH 50
(collectively the “DOES”), inclusive, are unknown to Plaintiffs, who thus sue said
Defendants under such fictitious names. Each of the Defendants designated herein
as one of the DOES is legally responsible for the events and happenings herein
referred to and proximately caused injuries and damages to Plaintiffs thereby, as
herein alleged. Plaintiffs will seek leave of this Court to amend this Complaint to
show the DOES’ names and capacities once they have been ascertained.
                                    JURISDICTION
       15.    Plaintiffs refer to and hereby incorporate the allegations of Paragraphs
1 through 14 into this Paragraph as if fully set forth herein.
       16.    This Court has jurisdiction over the Defendants pursuant to 28 U.S.C.
§ 1331 because Plaintiff’s action arises under the Constitution and laws of the
United States.
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                                         VENUE
       17.    Plaintiffs refer to and hereby incorporate the allegations of Paragraphs
1 through 16 into this Paragraph as if fully set forth herein.
       18.    Venue is proper in the Court’s Medford Division because the
incidents giving rise to this Complaint occurred in the County of Josephine and all
Defendants are located in, employed in, or residents of, the County of Josephine.
                             GENERAL ALLEGATIONS
       19.    Plaintiff refers to and hereby incorporates by reference the allegations
set forth in Paragraphs 1 through 18 into this Paragraph as if fully set forth herein.
       20.    AAOR is an organization comprised of Christian evangelists and anti-
abortion activists who travel around Oregon to share the gospel of Jesus Christ and
to call for the abolition and criminalization of abortion throughout the United
States. AAOR’s members do this through a variety of methods, including open-air
preaching, passing out tracts, holding up signs, and engaging willing individuals in
conversation.
       21.    Because of the large crowds that they draw, AAOR’s members
frequently attend events that take place in Grants Pass, including, but not limited
to, First Friday (a monthly celebration of the arts), the Saturday Growers’ Market,
and the annual Boatnik festival. At these events, members of AAOR take turns
open-air preaching – sometimes using electronic sound-amplification devices
(“amplifiers”), sometimes without – while others hold anti-abortion signs and/or
pass out gospel tracts. Some AAOR members’ signs merely contain words, while
others feature graphic images of aborted children.
       22.    AAOR’s members also regularly preach their anti-abortion message
outside the Planned Parenthood clinic located at 180 NW Franklin Blvd. (“Planned
Parenthood”) in Grants Pass.
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       23.    The CITY’s law enforcement arm, the Department of Public Safety
(“DPS”), has engaged in a consistent pattern of harassment aimed at silencing
AAOR’s members that dates back to at least 2017. This pattern includes, but is by
no means limited to, the following occurrences:
              a. On June 23, 2017, Plaintiff GOODKNIGHT was present at a
                  concert in Grants Pass. While another member of AAOR was
                  preaching, a DPS officer approached GOODKNIGHT, who is
                  employed by the Douglas County Sheriff’s Office (“DCSO”) in
                  Roseburg, and asked if GOODKNIGHT knew Brian Sanders
                  (“Sanders”), who was DCSO’s second-highest-ranking officer at
                  the time. GOODKNIGHT said he did, and the DPS officer
                  threatened to tell Sanders what GOODKNIGHT was up to –
                  clearly implying that he intended to get GOODKNIGHT in trouble
                  with, if not fired by, DCSO if he did not cease his evangelism
                  activities immediately.
              b. On October 17, 2018, Plaintiffs GOODKNIGHT and
                  MAYBERRY took turns preaching with a small amplifier at the
                  Saturday Growers’ Market at the corner of 4th and F streets in
                  Grants Pass. GOODKNIGHT and MAYBERRY used the
                  amplifier for two reasons: 1) They had to compete with a great
                  deal of ambient noise – specifically, loud music and cars passing
                  by on the street – and 2) so they could communicate in normal,
                  civilized tones without having to raise their voices. They kept the
                  amplifier’s volume at roughly 50 percent – loud enough for those
                  attending the Growers’ Market to hear, but not so loud that it could
                  be heard beyond half a block away. They in no way inhibited the
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                  merchants at the Growers’ Market from conducting their business.
                  Still, in response to complaints from individuals who presumably
                  found the AAOR members’ message offensive, two DPS officers,
                  Will Taylor and Jonah Kopp, approached GOODKNIGHT and
                  informed him that it was against local law to use amplification to
                  preach at any time or place other than First Fridays.
                  AAOR’s attorney sent a letter to Defendant CITY’s counsel
                  explaining why the actions of officers Taylor and Kopp violated
                  the rights of AAOR and its members under both the U.S.
                  Constitution’s First Amendment and Article I, § 8 of the Oregon
                  Constitution. A copy of that letter is attached hereto as Exhibit
                  “A.” Despite receiving that letter – something the CITY’s counsel
                  acknowledged in a city council meeting – the CITY took no action
                  to prohibit further trampling of the constitutionally protected free
                  speech rights of AAOR and its members.
              c. On May 3, 2019, AAOR members attended a First Friday event.
                  Plaintiff GOODKNIGHT used an amplifier while preaching. DPS
                  informed GOODKNIGHT at that time that the CITY had changed
                  its policy and was no longer allowing speakers to use amplifiers
                  even at First Fridays. In response, AAOR members stopped using
                  the amplifier and started using non-electronic plastic cones.
                  Initially, the DPS officers allowed the use of the cones, but then
                  changed their minds on that, too.
              d. On May 4, 2019, AAOR members are again harassed by DPS
                  officers following complaints from merchants and/or others at the
                  Saturday Growers’ Market. Plaintiff ROBBY M., a relatively
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                  quiet teen-ager who was merely passing out tracts, was accused of
                  soliciting at the Growers’ Market and escorted out of the Market
                  by DPS officers.
              e. On May 25-26, 2019, AAOR members attended the CITY’s
                  annual Boatnik festival. Again, members took turns using an
                  amplifier to ensure their message would be heard. Repeatedly,
                  DPS officers threatened them – Plaintiffs MAYBERRY and
                  KELLIM in particular – with citations if they did not stop. This
                  was the first time in roughly a decade of attending Boatnik that
                  AAOR’s members had been harassed by police over their use of
                  amplification. Among the DPS officers who made these threats
                  were Josh Nieminen and Max Anuschat.
              f. On June 17, 2019, Plaintiff RICKY M., then aged 14, his mother,
                  Plaintiff LORI M., and other AAOR members were engaged in
                  constitutionally protected free speech activities outside Planned
                  Parenthood. RICKY M. was sitting in a lawn chair on the
                  sidewalk, holding an anti-abortion sign, when Defendant ARTOFF
                  approached and cited RICKY M. for “obstructing traffic” in
                  violation of Grants Pass Mun. Code § 5.36.010, angrily telling
                  RICKY M., “You’ve been warned.” It was the first interaction
                  RICKY M. had ever had with ARTOFF. A copy of RICKY M.’s
                  citation is attached hereto as Exhibit “B.”
                  Furthermore, when he cited RICKY M., ARTOFF falsely claimed
                  that RICKY M. had been sitting in the street, in a handicapped
                  parking spot near the curb. RICKY M. had, in fact, been sitting in
                  a lawn chair on the sidewalk at the time. ARTOFF’s citation of
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                  RICKY M. was merely a pretext to silence him and other AAOR
                  members from speaking out against abortion, and ARTOFF
                  targeted a 14-year-old kid to do it. The charge against RICKY M.
                  was ultimately dismissed, but not before RICKY M. and his family
                  had to make a trip to Grants Pass to contest the ticket and spend
                  more than two months worrying about his trial.
              g. On July 25, 2019, Plaintiff KELLIM was preaching on the
                  sidewalk outside of Planned Parenthood. Defendants
                  HAMILTON, ARTOFF, and McGINNIS all showed up to tell him
                  to leave. This was not a situation where three police officers
                  needed to be present to deescalate a situation; the officers targeted
                  KELLIM to intimidate him into silence.
              h. On August 8, 2019, Plaintiff KELLIM was preaching outside
                  Planned Parenthood when Defendant McGINNIS and DPS Officer
                  Jeff Hattersley harassed and threatened to cite him for disturbing
                  the peace and disorderly conduct for using an amplifier.
              i. On August 15, 2019, Plaintiff KELLIM was preaching outside
                  Planned Parenthood again when Defendants ARTOFF and
                  McGINNIS cited him for using an amplifier. A copy of the
                  citation is attached hereto as Exhibit “C.” The citation charges
                  KELLIM with disorderly conduct in the first degree, which
                  concerns making a false report concerning an alleged fire,
                  explosion, catastrophe, hazardous substance, or other emergency.
                  See ORS 166.023. The County of Josephine did not pursue the
                  charge against KELLIM.


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              j. In early September 2019, Plaintiff LORI M. and several other
                  AAOR members went to share their message on the sidewalk
                  outside Planned Parenthood. Defendant HAMILTON, DPS’
                  second-highest ranking officer, took it upon himself to talk to the
                  AAOR members, LORI M. in particular, and make sure that they
                  were not using amplification. HAMILTON asserted his position
                  as DPS’ second-highest ranking officer to intimidate LORI M. and
                  her fellow AAOR members into silence.
              k. On September 15, 2019, Plaintiff KELLIM was preaching with an
                  amplifier outside Planned Parenthood again when Defendant
                  McGINNIS and DPS Officer Jeff Craven threatened to cite him for
                  disturbing the peace.
              l. On January 2, 2020, Plaintiff CLARK was preaching without any
                  amplification outside Planned Parenthood. His voice was slightly
                  raised, but he was not shouting. DPS Officer Jennings Stewart still
                  came up and told CLARK he was preaching too loudly and
                  ordered him to stop. Officer Stewart further stated that if DPS
                  continued to receive complaints, CLARK and his fellow AAOR
                  members would be cited for trespass and prohibited from using the
                  public sidewalk outside Planned Parenthood.
              m. On February 28, 2020, Plaintiff GOODKNIGHT was preaching
                  with an amplifier outside Planned Parenthood. DPS Officer Jason
                  Peil of the DPS dishonestly told GOODKNIGHT that a local
                  ordinance (see Paragraphs 33-35, below) prohibited him from
                  using amplification without a permit. When GOODKNIGHT
                  asked Officer Peil to show him the ordinance, Officer Peil refused.
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                  Officer Peil insisted that GOODKNIGHT was operating his
                  amplifier at an unreasonable volume, and when GOODKNIGHT
                  asked what volume would be reasonable, Officer Peil did not give
                  GOODKNIGHT a straight answer with which GOODKNIGHT
                  could comply. Officer Peil then became visibly frustrated and
                  threatened to arrest GOODKNIGHT for disorderly conduct
                  because GOODKNIGHT was allegedly “causing public alarm.”
              n. On March 6, 2020, Plaintiff CLARK was preaching with
                  amplification outside Planned Parenthood. DPS Officer Lucas Six
                  arrived on the scene. Although Officer Six admitted that
                  Defendant CITY’s relevant noise ordinance (see Paragraphs 32-34,
                  below) was subjective and that CLARK was preaching at a volume
                  that was not necessarily unreasonable, Officer Six still ordered
                  CLARK to stop preaching with amplification.
                  Later that same day, on the south corner of G Street at the
                  intersection of 6th and G streets, CLARK was engaging with
                  someone in civil, peaceful conversation when Defendant ARTOFF
                  arrived in response to a complaint. ARTOFF told CLARK to stop
                  talking and move away. When another DPS officer, Mike Miner,
                  advised ARTOFF that CLARK was not breaking any laws or
                  ordinances, ARTOFF allowed CLARK to stay.
              o. On March 12, 2020, Plaintiff CLARK was again preaching outside
                  Planned Parenthood. DPS Officer Derek Evans arrived on the
                  scene and ordered CLARK to stop preaching. When CLARK tried
                  to press Officer Evans about the noise ordinance, Officer Evans


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                  made clear he did not want to discuss it. Officer Evans then
                  threatened to arrest CLARK if he did not stop preaching.
       24.    A timeline with links to videos of several of the aforementioned
incidents is attached hereto as Exhibit “D.”
       25.    In every instance cited above, Plaintiffs preached their message in a
traditional public forum.
       26.    Defendants HAMILTON, ARTOFF, and McGINNIS, more than any
other DPS officers, have attempted to silence AAOR’s members from preaching
their anti-abortion message.
                      SOLE CAUSE OF ACTION:
             DEPRIVATION OF CIVIL RIGHTS [42 U.S.C. § 1983]
                        Against All Defendants

       27.    Plaintiffs refer to and hereby incorporate by reference the allegations
set forth in Paragraphs 1 through 26 into this Paragraph as if fully set forth herein.
       28.    Under 42 U.S.C. § 1983, anyone who, under color of state law,
“subjects, or causes to be subjected, any citizen of the United States or other
person within the jurisdiction thereof to the deprivation of any rights, privileges, or
immunities secured by the Constitution and laws, shall be liable to the party
injured in an action at law, suit in equity, or other proper proceeding for redress[.]”
A municipality, such as Defendant CITY, can be held liable for civil rights
violations where action pursuant to official municipal policy of some nature
cause[s] a constitutional tort.
       29.    Furthermore, under § 1983, a city official, such as Defendants
HAMILTON, ARTOFF, and McGINNIS, who violates federal law can be stripped
of his official or representative character and subjected in his person to the
consequences of his individual conduct.
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       30.    The U.S. Constitution’s First Amendment, as applied to states through
the Fourteenth Amendment, prohibits states from infringing on individuals’
freedoms of speech and religion. Under the Fourteenth Amendment’s Equal
Protection Clause, meanwhile, no state may “deprive any person of life, liberty, or
property without due process of law; nor deny to any person within its jurisdiction
equal protection of the laws.” U.S. Const. amend. XIV, § 1 (emphasis added).
       31.    Acting under color of state law, Defendants HAMILTON, ARTOFF,
and McGINNIS, in their capacity as police officers employed by Defendant CITY,
intentionally deprived Plaintiffs of their constitutionally protected liberties of free
speech and religion by engaging in a consistent pattern of harassment in order to
silence them. Defendants were substantially motivated by a desire to prevent
Plaintiffs from exercising their constitutionally protected free speech and religious
rights and used their positions as officers of the law toward that end. The actions
of HAMILTON, ARTOFF, and McGINNIS make abundantly clear that CITY has
a custom, policy, and practice of trying to silence Christians who preach their
views openly in the public square.
                   REQUEST FOR DECLARATORY RELIEF
       32.    Plaintiffs refer to and hereby incorporate by reference the allegations
set forth in Paragraphs 1 through 31 into this Paragraph as if fully set forth herein.
       33.    In targeting and harassing Plaintiffs for exercising their freedoms of
speech and religion, Defendants presumably aim to enforce Grants Pass Mun.
Code § 5.12.110 (the “Sound Ordinance” or the “Ordinance”). Subsection (A) of
the Sound Ordinance states, “No person may make, assist in making, continue or
cause to be making any loud, disturbing, or unnecessary noise which either
annoys, disturbs, injures or endangers the comfort, repose, health, safety or
peace of others” (emphasis added). Section (B)(11) of the Sound Ordinance
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defines “loud, disturbing, and unnecessary noises” to include “[t]he use or
operation of … any sound-amplifying device so loudly as to disturb persons in the
vicinity thereof or in such a manner that renders the use thereof a nuisance.”
       34.    The Sound Ordinance is unconstitutional on its face, as it is
overbroad, vague, and contains content- and speaker-based restrictions:
              a. The Sound Ordinance is overbroad because it is not narrowly
                  tailored to achieve Defendant CITY’s significant government
                  interest in protecting its citizens from unwelcome noise, and
                  therefore infringes on far more favored expressive activity in a
                  traditional public forum than is necessary to achieve the
                  government’s purposes: All someone has to do is complain that a
                  speaker using an amplifier – or even one who is not, as happened
                  with Plaintiff CLARK – is annoying or disturbing him or her to get
                  a police officer to come and use the threat of a citation, if not the
                  issuance of a citation, to silence the speaker. Moreover, it may not
                  even be the volume of a speaker’s speech, but its content, that the
                  complainer finds disturbing. The First Amendment exists in part
                  to protect unpopular speech, and the Sound Ordinance gives the
                  CITY’s police officers far too much power to shut it down.
              b. The Sound Ordinance is also vague, as it invites arbitrary and
                  discriminatory enforcement: The Ordinance provides no decibel
                  level that speakers using amplifiers cannot exceed, making even
                  good-faith attempts to comply with the Ordinance punishable by
                  law. Because the Ordinance provides no standards or guidelines to
                  follow, it gives Defendant CITY’s police officers virtually
                  unrestrained power to charge speakers with violating the law.
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                 c. The Sound Ordinance contains a content-based restriction, as it
                    only allows the use of sound-amplifying equipment “for the
                    broadcast or amplification of music, news, speeches, or general
                    entertainment as a part of a national, state, or City event, public
                    festivals or outstanding events of a noncommercial nature,” and
                    then only after the organizer of the relevant event obtains a permit.
                    Grants Pass Mun. Code § 5.12.110(B)(11) (emphasis added).
                    Even assuming arguendo that Plaintiffs’ activities fall into the
                    category of “speeches,” the language cited above makes clear that
                    individuals can only engage in speech using amplification as part
                    of organized events and renders the exercise of protected rights
                    subject to Defendant CITY’s approval, which the U.S.
                    Constitution does not allow.
                 d. The Sound Ordinance also contains a speaker-based restriction, as
                    it shows a preference for organizers of events as opposed to
                    everyday individuals with a message to speak.
       35.       Based on the foregoing, Plaintiffs request a declaration from the Court
stating that the Sound Ordinance is unconstitutional, both on its face and as applied
to Plaintiffs.
                        REQUEST FOR INJUNCTIVE RELIEF
       36.       Plaintiffs refer to and hereby incorporate by reference the allegations
set forth in Paragraphs 1 through 35 into this Paragraph as if fully set forth herein.
       37.       Because Defendant CITY’s efforts to silence Plaintiffs have continued
unabated since at least 2017, Plaintiffs hereby request that the Court preliminarily
and permanently enjoin all Defendants from enforcing the Sound Ordinance


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against Plaintiffs in a manner that unconstitutionally abridges Plaintiffs’ First
Amendment freedoms.
                                PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                          ON ALL CAUSES OF ACTION:
       1.     For declaratory and injunctive relief, as stated supra;
       2.     For economic damages against all Defendants in an amount according
to proof at trial;
       3.     For non-economic damages against all Defendants in the amount of
$400,000 ($50,000 per Plaintiff);
       4.     For punitive damages against Defendants HAMILTON, ARTOFF,
and McGINNIS in an amount that the Court deems proper;
       5.     For attorney’s fees and costs associated with bringing and maintaining
this action in accordance with the law; and
       6.     For such other and further relief as the Court may deem proper.

Dated: March 24, 2020                      PACIFIC JUSTICE INSTITUTE

                                           __/s/ RAY D. HACKE________
                                           Ray D. Hacke
                                           Attorney for Plaintiffs
                                           ABOLISH ABORTION OREGON et al.




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                                PROOF OF SERVICE
I am employed in the County of Marion, State of Oregon. I am over the age thof
eighteen and not a party to the within action; my business address is 1850 45
Ave., Suite 33, Salem, OR 97305.
On or about March 24, 2020, I served the following documents on the interested
parties by placing a true copy thereof enclosed in sealed envelope(s) addressed to
said parties:

COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE RELIEF,
ECONOMIC DAMAGES, NON-ECONOMIC, AND PUNITIVE DAMAGES
FOR DEPRIVATION OF CIVIL RIGHTS [42 U.S.C. § 1983]
                   PLEASE SEE ATTACHED SERVICE LIST
      BY MAIL: I am readily familiar with the firm's practice of collection and
processing of correspondence for mailing. Under that practice, it would be
deposited with the U.S. postal service on that same date with postage thereon fully
prepaid at Salem, Oregon in the ordinary course of business. I am aware that on
motion of the party served, service is presumed invalid if postal cancellation date
or postage meter date is more than one day after date of deposit for mailing in
affidavit.
  X BY PERSONAL SERVICE: I caused such envelope to be delivered by
hand to the office of the addressee(s).
      BY FACSIMILE TRANSMISSION: The facsimile machine I used
complied with California Rules of Court 2003(3) and no error was reported by the
machine. Pursuant to rule 2005(i), I caused the machine to print a record of the
transmission, a copy of which is attached to this proof of service.
      (State) I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.
  X (Federal) I declare that I am employed in the office of a member of the bar
of this court at whose direction the service was made.
Executed on March 24, 2020, at Salem, Oregon.

                                                  /s/ RAY D. HACKE_______________
                                                      Ray D. Hacke




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                                    SERVICE LIST
Mark Bartholomew
City Attorney
City of Grants Pass
101 Northwest A St.
Grants Pass, OR 97526

James Hamilton
Deputy Chief
Grants Pass Department of Public Safety
101 Northwest A St.
Grants Pass, OR 97526

Timothy Artoff
Officer
Grants Pass Department of Public Safety
101 Northwest A St.
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Jason McGinnis
Officer
Grants Pass Department of Public Safety
101 Northwest A St.
Grants Pass, OR 97526




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